Case 8:07-cr-00237-WFJ-CPT Document 54 Filed 10/15/07 Page 1 of 2 PageID 139




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

     UNITED STATES OF AMERICA,

                    Plaintiff,

     v.                                            Case No. 8:07-cr-237-T-24TBM

     NELSON CASTILLO,

                    Defendant.
                                            /

                                                ORDER

                    THIS MATTER is before the court on the matter of the Defendant’s

     competency to stand trial. Heretofore, the court granted Defendant’s motion to determine

     competency (Doc. 38) and directed that Dr. Donald Taylor, Jr., M.D. conduct a

     psychiatric evaluation to determine his competency to proceed. (See Doc. 48). In

     accordance with the Order, Dr. Taylor has examined the Defendant and submitted a

     report containing his findings. (S-5). By Dr. Taylor’s evaluation, the Defendant suffers

     from a learning disorder, a substance use disorder, a personality disorder, and

     posttraumatic stress disorder. He does not demonstrate the ability to understand the

     nature and consequences of the charges and proceedings against him or to consult with

     his counsel with a reasonable degree of rational understanding. While the Defendant

     may be malingering, Dr. Taylor is unable to state within a reasonable degree of medical

     probability that he is competent to stand trial. According to Dr. Taylor, the Defendant is

     in need of a transfer to a psychiatric facility within a secure medical center for evaluation

     and treatment as may be necessary
Case 8:07-cr-00237-WFJ-CPT Document 54 Filed 10/15/07 Page 2 of 2 PageID 140




                    Neither counsel for the Defendant nor counsel for the government object

     to the doctor’s recommendation that the Defendant be transferred to the custody of the

     Attorney General for transport to a secure medical facility for further evaluation and

     treatment.

                    Upon the information presented, this court concludes that the Defendant is

     presently suffering a mental disease or defect which may render him mentally

     incompetent to proceed. Accordingly, pursuant to 18 U.S.C. § 4241(d), the Defendant is

     committed to the custody of the Attorney General, who shall hospitalize the Defendant

     for treatment in a suitable facility for such reasonable period of time, not to exceed four

     (4) months, as is necessary to determine whether there is a substantial probability that in

     the foreseeable future he will obtain the capacity to permit further proceedings in this

     cause; or for such additional reasonable time until the Defendant’s medical condition is

     improved such that he may proceed to trial.

                    The United States Marshal shall promptly make arrangements for the

     transfer of the Defendant to the custody of the Attorney General as directed herein.

                    Done and Ordered in Tampa, Florida this 15th day of October 2007.




     Copies furnished to:
     Jerry Massie, Assistant United States Attorney
     Ken Siegel, Attorney for Defendant
     United States Marshal




                                                   2
